Case 2:05-cr-20279-SH|\/| Document 10 Filed 08/23/05 Page 1 of 2 Page|D 13

 

UNITED STATES DIsTRlCT coURT
wEsTERN I)ISTRICT 0F TENNESSEE 95 ma 23 mt B= h 9
Western Division

 
 
   

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UNITED STATES OF AMERICA 1 C§`:_,~_ r %%URE
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_vs- Case No. 2:05cr20279-Ma

RODERICK K. SMITH

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. According]y,
the Court makes the following appointment pursuant to the Crirninal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
~ The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

nole and 0RDERED in 167 Norrh Main, Memphis, this &Q_, day of August,

 

2005.
mw
'TU M. PHAM
UNITED STATES MAGISTRATE JUDGE
Copies furnished to:
United States Attorney
United States Ma;rshal

Pretrial Services Offlce

Assistant Federal Public Defender
lntake

RODERICK K. SMITH

This document entered on the docket sheet in complian e
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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20279 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

